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        In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * * **      *
                                          *
 ABM SECURITY SERVICES, INC.,             *
                   Protestor,             *
                                          *
 v.                                           No. 15-87C
                                          *
                                              Filed: January 30, 2015
                                          *
 UNITED STATES,                           *
                   Defendant.             *
                                          *
  * * * * * * * * * * * * * * * * **      *

                                      ORDER

       The court is in receipt of plaintiff’s January 30, 2015 motion for voluntary
dismissal of the above captioned case. Pursuant to plaintiff’s motion and Rule 41(a) of
the Rules of the United States Court of Federal Claims (2014), the claims in the above
captioned case are, hereby, DISMISSED, with each party to bear its own costs and
fees. The Clerk’s Office shall enter JUDGMENT consistent with this Order.


      IT IS SO ORDERED.
                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
